                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,

              -v-                                         Case No. 03-CR-259

GARY R. GEORGE,

                             Defendant.



                             DECISION AND ORDER


       Gary George (“George”) pled guilty to a conspiracy to defraud the United States,

in violation of 18 U.S.C. § 371.          This Court sentenced George to 48 months’

imprisonment and ordered him to pay restitution in the amount of $613,746.36. On

appeal, the Seventh Circuit affirmed George’s sentence, but it vacated and remanded this

Court’s restitution order. See United States v. George, 403 F.3d 470 (7th Cir. 2005), cert.

denied, 126 S.Ct. 636 (Nov. 7, 2005). The Seventh Circuit held that this Court did not

sufficiently articulate its rationale for the restitution figure. The Court does so in this

decision, but, in light of the Seventh Circuit authority, changes the restitution amount

from $613,746.36 to $568,596.48.

                                     DISCUSSION

       The Mandatory Victims Restitution Act (“MVRA”), 18 U.S.C. § 3663A, requires

that courts order restitution to the victims of crimes of fraud or deceit. 18 U.S.C. §

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3663A(c)(1)(A)(ii). A “victim” in an offense that involves a conspiracy is “any person

directly harmed by the defendant’s criminal conduct in the course of the scheme,

conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2). Thus, even though George was

convicted for conspiring to defraud the United States, the State of Wisconsin is a “victim”

because Wisconsin was directly harmed in the course of George’s conspiracy to defraud.

See United States v. Mitrione, 357 F.3d 712, 721 (7th Cir. 2004).

       The Supreme Court, in Hughey v. United States, 495 U.S. 411 (1990), limited

restitution to those losses caused by the actual count of conviction. After the Supreme

Court’s decision in Hughey, Congress amended the restitution statute by providing that

if the conviction involves a conspiracy, restitution may include all losses caused during

the course of that conspiracy. See 18 U.S.C. § 3663(a)(2). At least one federal circuit

court concluded that the amendment abrogated the holding of Hughey in instances where

the defendant had been convicted of a conspiracy. See United States v. Gamma Tech.

Indus., 265 F.3d 917, 927 n.10 (9th Cir. 2001). This Court acted under that presumption.

For example, even though George’s conspiracy to defraud the Police Athletic League

(“PAL”) was part of Counts Two and Three of the indictment, which was dismissed in

the plea agreement, this Court ordered that George pay PAL $42,649.88 in restitution

because the Court found, by a preponderance of the evidence, that PAL was harmed by

George’s conspiracy to defraud.

       However, on appeal the Seventh Circuit stated that even in a conspiracy case,

“Hughey requires the court to exclude injuries caused by offenses that are not part of the

scheme of which George has been convicted.” George, 403 F.3d at 474. Therefore, this

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Court cannot order George to pay $42,649.88 in restitution to PAL, because PAL’s loss

was not connected to George’s scheme to defraud as annunciated in Count One of the

indictment, which is the only count to which George pled guilty. Furthermore, this Court

cannot, as it did initially, order George to pay the State of Wisconsin $2,500.00 for the

kickback he received from his attorney, Mark Sostarich (“Sostarich”), relating to a

redistricting case in which George was involved, because that kickback, likewise, was not

part of the conspiracy to defraud as described in Count One. That kickback, rather, was

described in Count Four of the indictment, which was dismissed in the plea agreement.

        The State of Wisconsin, though, is entitled to receive the remaining $568,596.48

in restitution from George. This part of the restitution order is a combination of: (a)

kickbacks that George received from Sostarich’s legal fees that Sostarich charged the

Opportunities Industrialization Center of Greater Milwaukee (“OIC”), and (b) George’s

misuse of state employees. Both of these harms are described in and arise out of Count

One of the indictment to which George pled guilty.

I.      Kickbacks from Mark Sostarich’s OIC Legal Fees

        OIC was a non-profit organization that held contracts to administer Wisconsin’s

welfare-reform program, known as W-2. Before the State of Wisconsin took over the

program in February 2005, OIC had received approximately $150 million from the State

of Wisconsin, including millions of dollars each year provided by the federal government

under the state W-2 program.




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       In October 1997, George, who at the time was a member of the Wisconsin State

Senate, and OIC president Carl Gee, agreed that OIC would put Attorney Mark Sostarich

on a monthly retainer, provided that Sostarich paid a kickback of part of his fees to

George. Between December 1998 and August 2002, OIC made monthly payments to

Sostarich under the retainer. Eighty percent of the monthly retainer payments OIC made

to Sostarich were then given to George as a kickback in exchange for George providing

Sostarich the OIC business. In addition to the monthly retainer, Sostarich also did legal

work for OIC that was separately billed. Sostarich funneled fifty percent of these fees to

George. The total amount of OIC funds paid to George through Sostarich under this

arrangement was $273,415.48.

       George argues, though, that while he may have gained $273,415.48 illicitly, OIC

did not suffer a loss. By all accounts, Sostarich performed the legal work he was

assigned to do for OIC satisfactorily. George argues, therefore, that OIC was not harmed

because OIC received the legal services from Sostarich that it paid him to do.

       George’s argument is unpersuasive. George and Sostarich conspired with the

president of OIC, Carl Gee, to set up the kickback scheme. OIC’s president knew that

a majority of the payments OIC was making to Sostarich was not for his legal work, but

rather was going to be paid as a kickback to George. In other words, Gee knew that

Sostarich was willing to do the legal work for a fraction of what OIC was actually paying

him, but nevertheless agreed to pay Sostarich significantly more so that George could

profit from the kickbacks. By knowingly paying Sostarich much more in legal fees so

that George could profit from the kickbacks, OIC suffered a substantial loss.

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Accordingly, OIC is entitled to $273,415.48 in restitution that it lost to George as a result

of George’s kickback scheme.

II.      Misuse of State Employees

         As a Wisconsin State Senator, the State of Wisconsin provided George with staff

and legislative aides to assist him in his duties as a state senator. During the sentencing

hearing, three members of his staff testified, namely, Roemmel Brown (“Brown”), Dan

Rossmiller (“Rossmiller”), and David Begel (“Begel”). They testified that despite only

receiving compensation in the form of their salary from the State of Wisconsin, George

routinely directed them to work on a substantial amount of a non-state matters, including

campaign-related work, work related to George’s private law practice, managing

George’s personal finances, and various personal errands. George’s staff members

testified that they spent anywhere between one-quarter and three-quarters of their time

doing George’s non-legislative work. After hearing the totality of their testimony

regarding the various assignments that George would direct them to do, the Court

concluded that approximately half of his staff’s time was spent working on non-state

matters.

         During the time period covered by Count One, the State of Wisconsin paid Brown

a salary of $103,958.79, Rossmiller a salary of $249,786.38, and Begel a salary of

$236,615.87, for a total of $590,361.04. Because half of their time was spent on non-

state matters relating to George’s business, campaign, and personal matters, the Court




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directs George to pay the State of Wisconsin $295,181.00, which is half of the salary

Wisconsin paid his staff during the relevant time period.

III.      Conclusion

          The $295,181.00 restitution George owes Wisconsin for the misuse of state

employees, combined with the $273,415.48 that George received in kickbacks from the

legal fees OIC paid Sostarich, results in a total of $568,596.48. George is directed to pay

the Office of the State Comptroller (State of Wisconsin) $568,596.48 in restitution.

                Dated at Milwaukee, Wisconsin, this 3rd day of May, 2006.


                                                SO ORDERED,




                                                s/ Rudolph T. Randa
                                                HON. RUDOLPH T. RANDA
                                                Chief Judge




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